          Case 2:15-cr-00144-SMJ               ECF No. 272                filed 02/11/16              PageID.844 Page 1 of 1
Haynes✎ PS 8
(3/15)


                               UNITED STATES DISTRICT COURT
                                                                        for
                                               Eastern District of Washington

U.S.A. vs.                     Millar, Camille R.                                       Docket No.              2:15CR00144-SMJ-8

                                 Petition for Action on Conditions of Pretrial Release

         COMES NOW Erik B. Carlson, PRETRIAL SERVICES OFFICER, presenting an official report upon the
conduct of defendant Camille R Millar, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge John T. Rodgers, sitting in the Court at Spokane, Washington, on the 11th day of January 2016, under
the following conditions:

Standard Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall
advise the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact
with law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement
agency, unless defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

        RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant was arrested for fourth degree assault and third degree malicious mischief on February 9, 2016.

                           PRAYING THAT THE COURT WILL ORDER A WARRANT
                                                                                           I declare under the penalty of perjury
                                                                                           that the foregoing is true and correct.
                                                                                           Executed on:        February 11, 2016
                                                                               by          s/Erik Carlson
                                                                                           Erik Carlson
                                                                                           U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  No Action
 X
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other


                                                                                              Signature of Judicial Officer
                                                                                                     February 11, 2016

                                                                                              Date
